
PER CURIAM.
Upon consideration of the special master’s second amended report and recommendation, the petition seeking a belated appeal of the judgment and sentence imposed on August 12, 2002, in Okaloosa County Circuit Court case numbers 2002-CF-506 and 2002-CF-685, is granted. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as a notice of appeal. See Fla. R.App. P. 9.141(e)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
ALLEN, KAHN and DAVIS, JJ., concur.
